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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MARY BAYES and PHILIP BAYES,                  )
                                               )
         Plaintiff(s),                         )
                                               )
         vs.                                   )       Case No. 4:13-cv-00800-SRC
                                               )
 BIOMET, INC., et al.,                         )
                                               )
         Defendant(s).                         )

                                    Memorandum and Order

       The Court orders Plaintiffs Mary and Philp Bayes and Defendant Biomet, following

review of the juror prescreening questionnaires in this matter, to each file a Request that (1) lists

the potential jurors they request to have excused at this point, and (2) states the reason as to why

each listed potential juror should be excused. The Request must be filed no later than

Wednesday, September 30, 2020, at 10:00 a.m.

       The Court further orders that any response to the other side’s Request to excuse potential

jurors must be filed no later than Wednesday, September 30, 2020, at 2:00 p.m.

Dated: September 25, 2020.



                                               STEPHEN R. CLARK
                                               UNITED STATES DISTRICT JUDGE




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